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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT                                                     FILED
                                                              for the
                                                                                                                      Oct 13 2020

                                                 Northern District
                                               __________  DistrictofofCalifornia
                                                                        __________                                  SUSANY. SOONG
                                                                                                               CLERK, U.S. DISTRICT COURT
                                                                                                            NORTHERN DISTRICT OF CALIFORNIA
                  United States of America                       )                                                   SAN FRANCISCO
                             v.                                  )
                       Deshawn White
                                                                 )      Case No.
                                                                 )                 3:20-mj-71463 MAG
                                                                 )
                                                                 )
                                                                 )
                          Defendant(s)


                                               CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     9/2/20                   in the county of           San Francisco                    in the
     Northern          District of         California        , the defendant(s) violated:

            Code Section                                                   Offense Description
18 U.S.C. § 922(g)(1)                        Felon in possession of a firearm and ammunition

                                             Maximum Penalties:
                                             • Imprisonment: 10 years (18 U.S.C. § 924(a)(2))
                                             • Fine: $250,000 (18 U.S.C. § 3571)
                                             • Supervised Release: 3 years (18 U.S.C. § 3583(b)(2))
                                             • Special Assessment: $100 (18 U.S.C. § 3013)
                                             • Forfeiture of firearm and ammunition (18 U.S.C. § 853(a))

         This criminal complaint is based on these facts:
See attached affidavit of FBI Special Agent Brad May




         ✔ Continued on the attached sheet.
         ’

                                                                                                       /s
                                                                                            Complainant’s signature
             Approved as to form: /s/ Leif Dautch
                                                                                      Brad May, FBI Special Agent
                         Assistant U.S. Attorney
                                                                                             Printed name and title

Sworn to before me by telephone.


Date:             10/13/2020
                                                                                               Judge’s signature

City and state:                  San Francisco, California                     Hon. Laurel Beeler, U.S. Magistrate Judge
                                                                                             Printed name and title
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                AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

       I, G. Bradford May, Special Agent of the Federal Bureau of Investigation, having been

duly sworn, do declare and state:

                                        INTRODUCTION

   1. This Affidavit is made in support of a Criminal Complaint charging Deshawn White with

       possessing a firearm and ammunition as a convicted felon, in violation of Title 18, United

       States Code, Section 922(g)(1). The facts set forth in this affidavit are based on my own

       personal knowledge, information I obtained from other individuals during my

       participation in this investigation, my review of documents and records related to this

       investigation, including criminal history documents and police reports, and information

       gained through my training and experience. Because this Affidavit is submitted for the

       limited purposes of supporting a criminal complaint and obtaining an arrest warrant, I

       have not included each and every fact known to me that supports probable cause for

       arrest. Rather, I have set forth only the facts that I believe are necessary to support the

       lawful arrest of the individual listed in this Affidavit.

                                    AGENT BACKGROUND

   2. I am a Special Agent of the Federal Bureau of Investigation (FBI) and have been so

       employed since October 2007. I am currently assigned to the San Francisco Field

       Division of the FBI, where I investigate criminal violations of federal law, with a focus

       on violent crimes and crimes committed by gang members and associates. I have

       received training at the FBI Academy in Quantico, Virginia, to include training on

       criminal procedure, search and seizure, violent crimes, and gang organization. During

       the course of my career with the FBI, I have participated in numerous investigations



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   involving gang and weapons-related crimes and in the execution of numerous search and

   arrest warrants relating to such investigations.

3. I am conducting a criminal investigation of Deshawn White (White). On September 2,

   2020, police officers in San Francisco, California found White to be in possession of a

   Glock Model 30 Gen 4 semiautomatic pistol (Glock) bearing serial number BNCG933.

   The pistol had a high capacity magazine inserted that contained 20 .45 caliber cartridges

   of various brands (11 Winchester, 7 Federal, 1 Remington-Peters and 1 S&B). Prior to

   September 2, 2020, White had been convicted of a felony offense.

                                    APPLICABLE LAW

4. Title 18, United States Code, Section 922(g) states, in pertinent part, that “[i]t shall be

   unlawful for any person . . . (1) who has been convicted in any court of, a crime

   punishable by imprisonment for a term exceeding one year . . . to possesses in or

   affecting commerce, any firearm or ammunition; or to receive any firearm or ammunition

   which has been shipped or transported in interstate or foreign commerce. 18 U.S.C. §

   922(g)(1). Under Title 18, United States Code, Section 924(a)(2), “[w]hoever knowingly

   violates subsection . . . (g) . . . of section 922 shall be fined pursuant to this title,

   imprisoned not more than 10 years, or both.” 18 U.S.C. § 924(a)(2).

                            FACTS ESTABLISHING PROBABLE CAUSE

5. On or about July 30, 2020, in the Superior Court of California, County of San Francisco,

   White was convicted of first degree burglary in violation of California Penal Code

   section 459 and sentenced to two years in state prison. A conviction for a violation of

   California Penal Code section 459 is punishable by a term of imprisonment exceeding

   one year.



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6. On September 2, 2020, San Francisco Police Department (SFPD) Officer Coyne, Officer

   Ochoa, Officer Smally and Officer Leong were working in a plainclothes capacity in an

   unmarked patrol car. They were patrolling the 1000/1100 blocks of Oakdale Avenue in

   the Bayview District of San Francisco. Those blocks are known gang territory controlled

   by the Oakdale Mob, a criminal street gang in San Francisco. SFPD officers have

   responded to numerous past complaints of individuals who do not live in the area

   loitering, gambling, playing loud music and double parking on those blocks.

7. As the officers drove eastbound on Oakdale Avenue, Officer Coyne observed multiple

   subjects standing between vehicles parked in front of 1078 Oakdale Avenue. When the

   officers illuminated the subjects with their flashlights and patrol car spotlight, Officer

   Ochoa and Officer Leong observed Deshawn White, who they both know from previous

   contacts, attempt to crouch between the cars in an attempt to hide himself. Officer Ochoa

   observed White reach for his waistband. Officer Ochoa and Officer Leong exited the

   unmarked patrol car and announced themselves as police officers. White fled on foot and

   was taken into custody by Officer Ochoa and Officer Leong after a short foot chase.

   Officer Ochoa immediately looked over a fence near where White was detained and

   located a Glock Model 30, serial number BNCG933. Officer Ochoa visually inspected

   the Glock where he located it and observed that it was free of dust, dew, weathered debris

   and appeared as if it had recently been placed in that location.

8. A DNA sample was taken from White and swabs were taken from the Glock. An

   analysis of those samples found that White’s DNA was found on the handgun, with a

   chance of a random match being about one in 352 quadrillion.




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   9. The SFPD Crime Scene Investigation (CSI) Unit analyzed the firearm found near where

       White was detained. CSI Technician Jeremy Ticzon described the firearm as a Glock

       Model 30 Gen 4 semiautomatic pistol bearing serial number BNCG933. The pistol had a

       high capacity magazine inserted that contained 20 .45 caliber cartridges of various brands

       (11 Winchester, 7 Federal, 1 Remington-Peters and 1 S&B).

  10. Based on my training and experience, I know that Glock does not manufacture any

       firearms in California. Further, based on my training and experience, I know that

       Winchester Ammunition, Federal Ammunition, Remington-Peters Ammunition and

       Sellier & Bellot Ammunition do not have manufacturing plants in California. Therefore,

       I believe that the Glock firearm, Winchester Ammunition, Federal Ammunition,

       Remington-Peters Ammunition and Sellier & Bellot Ammunition were manufactured

       outside of California and therefore would have crossed state lines in order to have been

       located in San Francisco on September 2, 2020.

                                        CONCLUSION

  11. Based on the information set forth in this Affidavit, I respectfully submit that there is

       probable cause to believe that on September 2, 2020, Deshawn White, a convicted felon,

       committed a violation of federal law in that he was a Felon in Possession of a Firearm

       and Ammunition, in violation of Title 18, United States Code, Section 922(g)(1).



       I swear, under penalty of perjury, that the foregoing information is true and correct to the

best of my knowledge and belief.



                                      Respectfully Submitted,



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                                           /s
                                   ______________________________
                                   G. Bradford May
                                   Special Agent
                                   Federal Bureau of Investigation



Sworn to before me over the telephone and signed by me pursuant to Fed.R.Crim.P 4.1 and 4(d)
on this 13th day of October 2020


______________________________
HONORABLE LAUREL BEELER
UNITED STATES MAGISTRATE JUDGE




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